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 FOR PUBLICATION

                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,                                     Criminal No. 09-369

         v.                                                         OPINION

 PAUL W. BERGRIN, et al.                                 HON. WILLIAM J. MARTINI




 WILLIAM J. MARTINI, U.S.D.J.:

        On November 10, 2009, a federal grand jury in Newark returned a thirty-nine

 count Superseding Indictment (hereinafter “Indictment” or “S.I.”) against Defendants

 Paul Bergrin, Yolanda Jauregui, Thomas Moran, Alejandro Barraza-Castro

 (“Alejandro”), Vicente Esteves, Alonso Barraza-Castro (“Alonso”), Jose Jimenez, and

 Sundiata Koontz. This Indictment charges an array of criminal activity, ranging from

 conspiracy to murder a government witness and witness bribery to mortgage fraud and

 drug conspiracy, with a prostitution charge in between. These varied charges are

 presented by the government as schemes,1 joined together under the umbrella of RICO,

 the Racketeering Influenced and Corrupt Organizations statute. As will be discussed

 herein, the Indictment alleges that Defendant Bergrin led “The Bergrin Law Enterprise”

 1
   As part of its oral argument on April 7, 2010, the Government presented a “Timeline of
 Racketeering Acts.” The schemes referred to in this Opinion are drawn from the Government‟s
 timeline and from the Government‟s grouping of the racketeering acts in the Indictment.

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 and committed the aforementioned acts in conjunction with his RICO co-defendants

 Jauregui, Moran, Alejandro, and Esteves2 (collectively the “RICO Defendants”), as well

 as those remaining defendants who each are charged only in the substantive non-RICO

 counts.

        This matter presently comes before the Court on several pretrial motions related to

 the RICO counts. The first motion, brought by Defendants Bergrin, Jauregui, Moran, and

 Alejandro, seeks dismissal of the substantive Racketeering violation alleged in Count

 One of the Superseding Indictment for failure to state an offense. The next two related

 motions seek dismissal of the Racketeering Conspiracy and Violent Crimes in Aid of

 Racketeering (“VICAR”) counts on the same basis.

 I.     Motion To Dismiss Count One – Racketeering

        Count One, the substantive RICO count, charges Defendants Bergrin, Jauregui,

 Moran, and Alejandro Barraza-Castro with a Section 1962(c) violation. In order to plead

 a Section 1962(c) violation, the Government must set forth the following four elements:

 (1) the existence of an enterprise affecting interstate commerce; (2) that the defendant

 was employed by or associated with the enterprise; (3) that the defendant participated in,

 either directly or indirectly, in the conduct or the affairs of the enterprise; and (4) that he

 or she participated through a pattern of racketeering activity. United States v. Irizarry,

 2
  Defendants Bergrin, Jauregui, and Moran are charged in all three RICO counts – Count One
 (Racketeering, in violation of 18 U.S.C. § 1962(c)), Count Two (Racketeering Conspiracy, 18
 U.S.C. §1962(d)), and Count Three (Violent Crimes in Aid of Racketeering, 18 U.S.C. §
 1959(a)(3)). Alejandro Barraza-Castro is charged only in the first two counts, and Vicente
 Esteves is charged only with Violent Crimes in Aid of Racketeering.

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 341 F.2d 273, 285 (3d Cir. 2003).

        The RICO Defendants move to dismiss Count One under Federal Rule of Criminal

 Procedure 12(b)(3) for failure to state an offense. Specifically, they argue that the

 Indictment fails to allege both a “pattern of racketeering activity” and an “enterprise.”

 Before addressing each of these arguments, the Court first will describe the racketeering

 acts alleged in the Indictment.

        A.      Facts as Alleged in Count One

        Defendant Bergrin was an attorney with a law office in Newark, New Jersey.

 According to the Indictment, Bergrin was the leader of “The Bergrin Law Enterprise,”

 which in addition to Bergrin, included the following as its members and associates:

 Yolanda Jauregui, Thomas Moran, Alejandro Barraza-Castro, Vicente Esteves, the Law

 Office of Paul W. Bergrin, P.C., P.B. & V, P.A.,3 Premium Realty Investment Corp., Inc.,

 and Isabella‟s International Restaurant, Inc. (S.I. ¶ 24.) Among the purposes and

 objectives alleged for this enterprise were: providing the enterprise and its leaders,

 members and associates with an expanding base of clients for legal and illegal services;

 generating, preserving and protecting the enterprise‟s profits and client base through

 commission of the predicate acts; protecting and preserving Paul Bergrin‟s status as a

 licensed attorney; enhancing defendant Paul Bergrin‟s reputation as a criminal defense

 attorney; and, promoting and enriching the enterprise and its members, while concealing

 the enterprise‟s criminal activities. (S.I. ¶ 4.)
 3
   While this acronym is not spelled out in the Indictment, during oral argument, the parties
 referred to this entity as the law firm of Pope, Bergrin, & Verdesco.
                                                  3
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         As the alleged leader of “The Bergrin Law Enterprise,” the Indictment states that

 Bergrin, with his RICO co-defendants, “use[d] the special privileges granted to licensed

 attorneys to engage in and assist Client Criminals to engage in criminal activities.” (S.I.

 ¶ 6.) These criminal activities are broken down by scheme in the Racketeering charge as

 follows:

         o    Conspiracy to Murder Kemo DeShawn McCray
         o    Conspiracy to Murder Witnesses Against Vicente Esteves
         o    Bribery of a Witness Against Ramon Jauregui
         o    Drug Conspiracy
         o    Operating a Prostitution Business
         o    Mortgage and Tax Fraud

 These varied schemes spanned approximately six years, from late 2003 through May

 2009.

         1.      Conspiracy to Murder Kemo Deshawn McCray (Racketeering Act One,
                 Counts Four and Five)4

         The first scheme alleged is the conspiracy to murder Kemo Deshawn McCray, a

 government cooperating witness set to testify against one of Defendant Bergrin‟s clients,

 William Baskerville. After Bergrin entered Baskerville‟s case on November 25, 2003, he

 purportedly met with Baskerville‟s drug trafficking associates and informed them that

 McCray was a cooperator. During this meeting, Defendant Bergrin also allegedly

 informed these associates that the murder of McCray would result in Baskerville going

 free. On March 2, 2004, Kemo Deshawn McCray was murdered.


 4
   Since the racketeering acts alleged also are set forth as substantive charges later in the
 Indictment, for ease of reference, the headings in this section will list both where the acts can be
 found in the RICO charge and where they are charged later in the Indictment.
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       2.     Conspiracy to Murder Witnesses Against Vicente Esteves (Racketeering
              Acts Two and Three, Counts Six through Eleven)

       Four years later, Defendant Vicente Esteves retained Defendant Bergrin to

 represent him on pending drug charges in Monmouth County, New Jersey. The

 Indictment alleges that Esteves sought not only legal services from Defendant Bergrin;

 Esteves also purportedly hired “The Bergrin Law Enterprise” to plan the murder of those

 government witnesses set to appear against him in this Monmouth County case. In

 connection with this plot to kill the Monmouth County witnesses (also referred to

 hereinafter as “the Monmouth County scheme”), Defendants Bergrin, Moran, and

 Esteves allegedly solicited a “hitman.” This hitman, unbeknownst to them, was a

 government informant.

       The Government charges the Monmouth County scheme as a Travel Act

 conspiracy under 18 U.S.C. § 371 and sets forth several acts in furtherance stemming

 from the hitman‟s interactions with Bergrin, Moran, Esteves, and Jauregui. For example,

 during the summer of 2008, Bergrin allegedly met with the hitman several times, and

 Moran smuggled a cellphone into the Monmouth County Jail for Esteves to be used for

 calls to the hitman. In December 2008, these acts culminated in a conversation during

 which Bergrin purportedly told the hitman to murder a witness but to make it look like a

 home invasion robbery. No murder occurred.




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         3.    Bribery of a Witness Against Ramon Jauregui (Racketeering Act Four,
               Counts Thirteen through Fifteen)

         The third scheme alleged involves a criminal case against Ramon Jauregui,

 Yolanda Jauregui‟s brother. When Ramon was charged with robbery in Essex County,

 New Jersey, the Indictment alleges that Defendants Bergrin, Yolanda Jauregui, and

 Moran bribed a witness to testify falsely. Specifically, the Indictment states that these

 defendants paid or assisted in paying this witness $3000 to falsely exculpate Ramon

 Jauregui. This conspiracy began on or about January 5, 2009 and ended on February 19,

 2009.

         4.    Drug Conspiracy (Racketeering Acts Five through Seven, Counts Sixteen
               through Twenty)

         The fourth scheme involves a cocaine trafficking business allegedly operated by

 Defendants Bergrin, Jauregui, and Alejandro from January 2005 through May 21, 2009

 out of a restaurant in Newark, New Jersey. Isabella‟s International Restaurant

 purportedly served as a “stash house” used to store “multi-kilogram quantities of cocaine

 and the proceeds of cocaine sales.” (S.I. ¶ 18). In connection with the affairs of this

 stash house, the Indictment sets forth several racketeering acts, including conspiracy to

 distribute (against Defendants Bergrin, Jauregui, and Alejandro) and possession with

 intent to distribute five kilograms or more of cocaine (against Alejandro only).5 In



 5
   Like all of the other aforementioned schemes, in addition to being pled as a RICO predicate,
 the drug conspiracy is also charged as a substantive count in the Indictment. Defendants Alonso
 and Jimenez are charged only in these substantive drug counts, specifically Count 16 (conspiracy
 to distribute cocaine), Count 17 (distribution of cocaine), and Count 20 (maintaining drug-
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 addition, the Indictment also charges Alejandro with distributing 500 grams or more of

 cocaine on December 8, 2008.

        5.     Operating a Prostitution Business (Racketeering Act Eight, Counts
               Twenty-One through Twenty-Three)

        From July 24, 2004 through March 2, 2005, the Indictment alleges that Defendant

 Bergrin assisted a client (referred to as “J.I.”) with the running of J.I.‟s prostitution

 business in New York state. Bergrin mailed letters to the New Jersey Parole Board,

 falsely stating that J.I. was employed by Bergrin‟s law office. These letters helped J.I. to

 evade his New Jersey parole restrictions and operate the prostitution business out of New

 York. In addition to writing letters, Bergrin provided J.I. with photocopies of checks

 drawn from the account of Premium Realty Investment Corp., an entity allegedly owned

 by Bergrin. These checks were meant to substantiate J.I.‟s false claims to the Parole

 Board regarding his employment with Bergrin.

        When J.I. was arrested in New York state, the Indictment states that Bergrin

 managed J.I.‟s prostitution business while he was incarcerated. At some point, Bergrin

 also was arrested in New York and subsequently charged with a prostitution-related

 offense.6




 involved premises). In these three counts, Alonso and Jimenez are charged with Alejandro but
 only Alejandro is named as a RICO defendant.
 6
  Defendant Bergrin later pled guilty to a misdemeanor prostitution offense in New York state
 and was sentenced to a term of probation.
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          6.    Mortgage and Tax Fraud (Racketeering Acts Ten through Thirteen, Counts
                Twenty-Four through Thirty-Six)

          Finally, the sixth alleged scheme involves a mortgage fraud conspiracy, in which

 RICO Defendants Bergrin and Jauregui purportedly sold real estate7 to individuals they

 knew had fraudulently obtained mortgage loans to pay for the properties.8 Bergrin and

 other attorneys from his law office allegedly served as closing attorneys on these

 transactions. This scheme began in May 2005 and continued through the beginning of

 April 2006.

          B.    Fed. R. Crim. P. 12(b)(3) Standard

          A motion to dismiss under Federal Rule of Criminal Procedure 12(b)(3)(B) tests

 the sufficiency of the Indictment. In analyzing a motion to dismiss, the Court must

 accept as true the facts as alleged and determine if those facts constitute a violation of the

 law under which the defendant is charged. United States v. Zauber, 857 F.2d 137, 144

 (3d Cir. 1988). Further, the Court is limited to the four corners of the Indictment itself,

 as the sole function of a motion to dismiss is to test the sufficiency of the allegations, not

 the government‟s evidence. United States v. DeLaurentis, 230 F.3d 659, 660 (3d Cir.

 2000).

          In assessing an Indictment‟s sufficiency, the Court looks to whether the charging


 7
   The Indictment states that Bergrin and Jauregui owned at least one of these properties through
 Premium Realty Investment Corp., Inc.
 8
   Defendant Koontz, while not charged in the RICO mortgage fraud predicates, is charged with
 Bergrin and Jauregui in the substantive mortgage fraud counts in the Indictment, Counts 24
 through 29.
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 document: (1) contains the elements of the offense intended to be charged, (2)

 sufficiently apprises the defendant of what he must be prepared to meet, and (3) allows

 the defendant to show with accuracy to what extent he may plead a former acquittal or

 conviction in the event of a subsequent prosecution. United States v. Vitillo, 490 F.3d

 314, 321 (3d Cir. 2007). The sufficiency of an Indictment may be challenged not only on

 the basis that it fails to charge the essential elements of the statutory offense, but also on

 the ground that “the specific facts alleged ... fall beyond the scope of the relevant criminal

 statute, as a matter of statutory interpretation.” United States v. Panarella, 277 F.3d 678,

 685 (3d Cir. 2002). In so holding, the Third Circuit in Panarella rejected the

 Government‟s contention that “an Indictment or information charges an offense … as

 long as it recited in general terms the essential elements of the offense, even if the

 specific facts alleged in the charging instrument fail to satisfy those elements.” Id.; see

 also United States v. McGeehan, 584 F.3d 560, 575 (3d Cir. 2009) (dismissing wire fraud

 counts where Indictment failed to aver sufficient facts to set forth the offenses as

 charged). Accordingly, in assessing the sufficiency of the instant RICO charge, the Court

 may look past general recitations of statutory language to the facts alleged to determine

 whether a RICO offense has been set forth. See Vitillo, 490 F.3d at 321 (“An indictment

 must allege more than just the essential elements of the offense.”).

        With these principles in mind, the Court now turns to the RICO Defendants‟ Rule

 12(b)(3) motion to dismiss on the grounds that this Indictment fails to allege both a

 “pattern of racketeering activity” and an “enterprise.”
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        C.      “Pattern of Racketeering Activity”

        In defining the contours of the RICO pattern of racketeering element, the Supreme

 Court has explained that the term “pattern” requires “more than just a multiplicity of

 racketeering predicates.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 238 (1989). “A

 pattern is an arrangement or order of things or activity … and the mere fact that there are

 a number of predicates is no guarantee that they fall into any arrangement or order.” Id.

 (citation omitted). Rather, “[i]t is not the number of predicates but the relationship that

 they bear to each other or to some external organizing principle that renders them

 „ordered‟ or „arranged.‟” Id.

        Thus, to plead a pattern of racketeering activity, the predicate acts alleged must be

 related and must pose a threat of continued criminal activity.9 Id. at 239. The Third

 Circuit has emphasized that “relatedness” and “continuity” are distinct requirements that

 must be satisfied in order to establish a RICO pattern of racketeering activity. United

 States v. Eufrasio, 935 F.2d 553, 564 (3d Cir. 1991).

 9
   While the Government maintains that relatedness and continuity are proof elements for trial
 and not pleading requirements, the Third Circuit has considered both on a motion to dismiss. See
 Hollis-Arrington v. PHH Mortg. Corp., 205 F. App‟x 48, 54 (3d Cir. 2006) (“To plead a pattern
 of racketeering activity, Hollis-Arrington must aver not only that each defendant committed at
 least two acts of prohibited racketeering activity but also that the predicate acts are related and
 that they amount to or pose a threat of continued criminal activity.”); HT of Highlands Ranch,
 Inc. v. Hollywood Tanning Sys., Inc., 590 F. Supp. 2d 677, 688 (D.N.J. 2008) (assessing
 sufficiency of continuity pleading on a motion to dismiss); see also GICC Capital Corp. v.
 Technology Finance Group, Inc., 67 F.3d 463, 465 (2d Cir. 1995) (“[A] plaintiff in a civil RICO
 suit must establish a „pattern of racketeering activity.‟ The plaintiff must plead at least two
 predicate acts, see § 1961(5), and must show that the predicate acts are related and that they
 amount to, or pose a threat of, continuing criminal activity”). As such, this Court shall consider
 relatedness and continuity for the purposes of the instant motion.

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        1.     Relatedness

        The relationship prong “focuses on the inter-relationship of the charged RICO

 predicates.” Eufrasio, 935 F.2d at 564-65 (emphasis in original). A relationship exists

 among predicate acts if they “have the same or similar purposes, results, participants,

 victims, or methods of commission, or otherwise are interrelated by distinguishing

 characteristics and are not isolated events.” H.J. Inc., 492 U.S. at 240. This relationship

 requirement “exists to ensure that RICO is not used to penalize a series of disconnected

 criminal acts.” Eufrasio, 935 F.2d at 565.

        Defendant Bergrin argues that the racketeering predicates alleged in the

 Indictment are such a series of disconnected acts, since they “share little in terms of

 defendants, subject matter, manner of commission or time frame.” (Bergrin Reply Br. 8).

 The Court agrees. There is little on the face of the Indictment demonstrating relatedness

 among the varied white collar frauds and street crimes offered by the Government as

 RICO predicates. The Government even conceded as much during oral argument,

 admitting that these disparate acts could not be joined but for the allegation of a RICO

 enterprise:

        Court: If there were no RICO statute in existence when you did this investigation and
        you returned everything but the three RICO counts, could you legally have joined all
        those counts? And if so, under what theory could you legally have joined all those counts
        even as to just Mr. Bergrin?

        Government: Well, Judge, I am not sure -- I certainly haven't done the analysis on that.
        My sense is that it would be a difficult proposition to do that.




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 See Tr. of Oral Argument (“Tr.”) 39. Again, in response to questioning the Government

 admitted that the acts would be prejudicially joined under Rule 14(a):

        Court: If there were no RICO count, could any of these [substantive counts] be
        tried together without violating the principles of Rule 14?

        Government: Probably not.

 See Tr. 44. These admissions speak volumes as to the disparate nature of the substantive

 crimes that, in effect, also serve as the racketeering predicates.10 While the Government

 maintains that these wide-ranging crimes nonetheless fall within the ambit of a RICO

 pattern, to hold as much would be to condone the precise type of overreaching that courts

 and commentators have warned against since the enactment of RICO. See, e.g., United

 States v. Riccobene, 709 F.2d 214, 221 (3d Cir. 1983) (discussing concerns expressed

 about the broadness of RICO and stating “the statute could be extended to situations far

 removed from those actually contemplated by Congress … federal prosecutors could use

 the law to invoke an additional penalty whenever they had a case involving the

 commission of two offenses that, coincidentally, were among those listed as „racketeering

 activities.‟”).

 10
     The differences between these RICO predicates are not merely a pleading concern. Thinking
 through to the practicalities of trial, it concerns the Court that evidence of these different alleged
 criminal acts likely would pose evidentiary problems. For example, the Court would be sensitive
 to the admission of the Kemo murder evidence in conjunction with the Monmouth County
 hitman case, which involved different defendants, save Bergrin, and occurred four years later.
 To the extent that the hitman evidence would be used to demonstrate motive in the Kemo trial,
 this clearly would be inappropriate. Further, the spillover prejudice from the introduction of
 each witness murder case in a trial of the other would give the Court serious pause. Beyond this,
 the Government would introduce its mortgage fraud case and prostitution cases during the same
 megatrial. The many and complex limiting instructions that would have to be employed as to the
 counts and defendants would confound the Court, let alone the jurors.
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        The predicate acts alleged range from murder of a witness to drug distribution to

 mortgage fraud. They may be grouped as follows:

             o The Kemo Murder Case (11/03-3/04): Bergrin only;
             o The Prostitution Case (7/04-3/05): Bergrin only;
             o The Drug Conspiracy Case (1/05-5/09): Bergrin, Jauregui, Alejandro
               Barraza-Castro, and non-RICO Defendants Alonso Barraza-Castro and
               Jimenez.
             o The Mortgage Fraud Case (5/05-4/06): Bergrin, Jauregui, and non-RICO
               defendant Koontz; and,
             o The Monmouth County/Esteves Case (6/08-4/09): Bergrin, Jauregui,
               Esteves, and Moran;
             o The Ramon Jauregui Bribery Case (1/09-2/09): Bergrin, Jauregui, and
               Moran;

        As evident from the list, this panoply of criminal activity has but one common

 denominator, Paul Bergrin, who is alleged to have participated in ten of the thirteen

 predicate acts.11 While the Government is correct that the Indictment‟s failure to name

 Bergrin in every predicate act “is not fatal,” see Gov. Br. 40 n.8, the Indictment‟s failure

 to set forth similar or common purposes, victims, manners of commission, or otherwise

 distinguishing characteristics relating these predicates warrants dismissal.

        a.      The Kemo Murder Case

        The Kemo murder case demonstrates most strikingly the deficiencies of the

 Government‟s pattern pleading. This case shares nothing in common with the other

 schemes, save for the presence of Paul Bergrin, the only defendant purportedly involved.

 Bergrin is not alleged to have acted in concert with any of the RICO Defendants or any of


 11
   Jauregui is named in five of the thirteen racketeering acts; Moran is named in two; and,
 Alejandro is named in three.

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 the RICO enterprise corporations, including his law office. In fact, this case significantly

 predates the involvement of the other RICO Defendants in the alleged enterprise.12

 Compounding this problem, it is clear from the nature of the allegations that the Kemo

 murder case shares little, if anything, in common with the methods allegedly employed in

 the commission of the other predicates. Thus, from the face of the indictment, it is clear

 to the Court that no enterprise existed at the time of the Kemo murder case, if ever.

        b.     The Other Predicate Act Schemes

        The Government‟s pleading of the remaining predicate acts shares many of the

 same deficiencies. Viewed together, these temporally-distinct schemes share no common

 defendants, save Defendant Bergrin. Indeed, Bergrin appears alone in the prostitution

 scheme. Alejandro appears only in the drug conspiracy. Beyond this, it is evident on the

 face of these schemes that they lack any similarity in method.

        Although the Government attempts to tie together the disparate predicates by

 arguing that they each furthered the “principal goals of the enterprise,” Gov. Br. 39, the

 purposes offered in the Indictment undermine the assertion that the RICO persons share

 any such common objectives. Among the purposes offered are:

 12
   The next scheme alleged to have occurred is the prostitution case, which again involved only
 Bergrin. After the prostitution case, the next scheme by date is the drug conspiracy. This
 scheme allegedly began in January 2005; however, it bears noting that the Indictment pleads no
 acts in furtherance of this conspiracy until December 2008. (S.I. ¶ 33) (setting forth
 Racketeering Act Seven alleging that Jauregui and Alejandro intentionally distributed 500 grams
 or more of cocaine). Thus, to the extent that the Government contends that the existence of an
 enterprise around the time of the Kemo murder is bolstered by commencement of the prostitution
 scheme or the drug conspiracy shortly thereafter, this argument is undermined both by lack of
 any co-defendant involvement in the prostitution and the lack of any alleged overt acts in this
 drug conspiracy until late 2008.
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           o providing The Bergrin Law Enterprise and its leaders, members and associates
             with an expanding base of clients for legal and illegal services;
           o generating, preserving and protecting The Bergrin Law Enterprise‟s profits and
             client base through acts of, among other things, witness tampering, murder,
             conspiracy to commit murder, traveling in aid of racketeering enterprises,
             bribery, drug trafficking, prostitution, wire fraud and money laundering;
           o protecting and preserving Paul Bergrin‟s status as a licensed attorney; and,
           o enhancing defendant Paul Bergrin‟s reputation as a criminal defense attorney.

 (S.I. ¶ 4.)

           Given these alleged objectives, it strikes the Court that each pertains to Paul

 Bergrin individually as an attorney.13 Even the name given to this alleged entity – The

 Bergrin Law Enterprise – reflects this fact. The enhancement of Bergrin‟s reputation and

 the preservation of his law license are clearly of unique importance to Bergrin himself, as

 is the expansion of his law firm‟s client base. As further demonstration of this, the

 Indictment emphasizes that “The Bergrin Law Enterprise” offers “legal and illegal

 services” to its “clients.” This purpose again speaks to Paul W. Bergrin, Esq. While the

 Indictment attributes these objectives to the other members and associates of the

 enterprise, it strains credulity to argue, for example, that Alejandro Barraza-Castro, an

 alleged drug dealer, shared the aforementioned purposes regarding Bergrin‟s law license

 and his client base.

           Thus, the Indictment as pled offers a series of disconnected street crimes and white

 collar frauds carried out using divergent methods for distinct purposes at different times




 13
      This issue is discussed in more detail infra.

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 as the RICO “pattern.” These disparate acts lack the indicia of relatedness required for a

 pattern and do not satisfy, on their face, the RICO pattern of racketeering requirement.

        2.     Continuity

        Beyond relatedness, to set forth a pattern of racketeering, the Indictment also must

 set forth “continuity.” “Continuity is both a closed- and open-ended concept, referring

 either to a closed period of repeated conduct, or to past conduct that by its nature projects

 into the future with a threat of repetition.” H.J., Inc. v. Nw. Bell Tel. Co., 492 U.S. 229,

 241 (1989). “A party alleging a RICO violation may demonstrate continuity over a

 closed period by proving a series of related predicates extending over a substantial period

 of time.” Id. at 242. Alternatively, the government may allege open-ended continuity

 through “related predicates [that] themselves involve a distinct threat of long-term

 racketeering activity.” Id.

        As both the open-ended and closed-ended definitions imply, related predicates are

 prerequisite to a finding of continuity. In H.J., Inc., for example, the Supreme Court‟s

 continuity determination hinged not solely on the duration of the alleged predicate acts

 but also on their relatedness, particularly in demonstrating that they were “part of an

 ongoing entity‟s regular way of doing business.” Id. The complaint in that case set forth

 an ongoing bribery scheme over the course of six years, directed at influencing the

 ratemaking decisions of five members of a regulatory agency. This common bribery

 scheme executed over several years allowed the Court to discern a distinct threat of long-

 term racketeering activity.
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        Conversely, for the reasons set forth above, the Court holds that the predicate acts

 as alleged in the instant Indictment lack the commonality required for a finding of

 relatedness and thus continuity. The fact that these acts as alleged spanned nearly six

 years is not sufficient, in and of itself, to satisfy the continuity requirement. See Hindes

 v. Castle, 937 F.2d 868, 875 (3d Cir. 1991) (“We observe that not one of our post- H.J.

 Inc. cases has found continuity satisfied by the duration of the predicate acts alone.”).

 Instead, there must also be a threshold showing of commonality among the acts. Finding

 no such showing there, the Court cannot hold that the racketeering acts alleged

 demonstrate continuity. As such, the Indictment does not set forth a pattern of

 racketeering on its face.

        The Court notes, however, that where racketeering acts lack relatedness and

 continuity, and therefore do not form a pattern on their face, the Third Circuit may deem

 them a pattern nonetheless if undertaken in association with a RICO enterprise. United

 States v. Eufrasio, 935 F.2d 553, 565 (3d Cir. 1991). While this is most frequently

 encountered in organized crime or union corruption cases, the Court is mindful that the

 RICO statute can be applied outside of these contexts. See H.J., Inc., 945 F.2d at 611

 (noting that RICO has not been limited to organized crime activity). Thus, the next issue

 is whether such a RICO enterprise is pled sufficiently: (1) as a statutory element and (2)

 to allow the functionally unrelated acts pled by the Government to form a pattern.




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         D.     “Enterprise”

        The existence of an enterprise is a distinct statutory element from the pattern and

 must be established in its own right. Boyle v. United States, 129 S. Ct. 2237, 2245

 (2009). The RICO statute defines an enterprise as “any individual, partnership,

 corporation, association, or other legal entity, and any union or group of individuals

 associated in fact although not a legal entity.” 18 U.S.C. § 1961(4) (emphasis added).

 Here, the Indictment states that “The Bergrin Law Enterprise” was an associated in fact

 enterprise, whose members and associates included the aforementioned RICO

 Defendants, as well as the Law Office of Paul W. Bergrin, P.C.; P.B.&V., P.A.; Premium

 Realty Investment Corp., Inc.; and, Isabella‟s International Restaurant, Inc. (S.I. ¶¶ 1, 2.)

        As the Boyle Court succinctly stated, “an association-in-fact enterprise is „a group

 of persons associated together for a common purpose of engaging in a course of

 conduct.‟” Boyle, 129 S. Ct. at 2244 (quoting United States v. Turkette, 452 U.S. 576,

 583 (1981) (emphasis added). By definition, this association-in-fact enterprise must have

 a structure. Id. “From the terms of RICO, it is apparent that an association-in-fact

 enterprise must have at least three structural features: a purpose, relationships among

 those associated with the enterprise, and longevity sufficient to permit these associates to

 pursue the enterprise‟s purpose.”14 Id.


 14
     The Government contends that it need not plead the enterprise with any specificity, as long as
 it identifies entities believed to be the enterprise. Gov. Br. 26. Further, the Government cites to
 Seville, a Third Circuit case holding that a civil RICO plaintiff need not plead the so-called
 Turkette factors – i.e., ongoing organization, functioning as a continuing unit, and existence
 separate and apart from the pattern – to state a cause of action. Seville Indus. Mach. Corp. v.
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        No structure, or at best a minimal structure, is pled in the instant Indictment with

 regard to “The Bergrin Law Enterprise.” Instead, the Government attempts to graft an

 enterprise onto the actions of Defendant Bergrin by alleging that he led “The Bergrin

 Law Enterprise.” S.I. ¶ 24(a). The Indictment, however, does not describe what this

 leadership entailed. Except for the labeling of Bergrin as the “leader,” there is no

 discussion of the roles of the other associates, other than their commission of illegal acts.

 See, e.g., S.I. ¶¶ 24(d) (“Defendant Alejandro Barraza-Castro … conducted the affairs of

 The Bergrin Law Enterprise by, among other things, engaging in drug trafficking.”);

 24(c) (“Defendant Thomas Moran conducted the affairs of The Bergrin Law Enterprise

 by, among other things, engaging in conspiracy to murder witnesses, traveling in aid of

 racketeering enterprises and bribery of a witness.”).

         This pleading stands in stark contrast to the typical form of a RICO Indictment.

 In an organized crime or union corruption RICO Indictment, for example, there is often a

 lengthy discussion of each associate‟s role in the enterprise and how the enterprise came

 to be. See, e.g., United States v. Merlino, 349 F.3d 144, 147 (3d Cir. 2003) (“The 111

 Southmost Mach. Corp., 742 F.2d 786, 790 (3d Cir. 1984). In support of this holding, the Seville
 court noted that “[i]t is the function of discovery to fill in the details.” Id. The Court notes the
 holding of Seville and agrees with the Government that failure to plead each of the three Turkette
 factors does not render an Indictment defective; however, the Court here does not rely on
 Turkette factors to assess the sufficiency of this enterprise pleading. Instead, the Court is looking
 more fundamentally at whether each element of a Section 1962(c) violation has been pled,
 which, of course, includes both the pattern and enterprise elements. See Seville, 742 F.2d at 790
 n.5 (“It is an essential element of the RICO cause of action that the „enterprise‟ be apart from the
 underlying pattern of racketeering.”); see also Boyle, 129 S. Ct. at 2245 (“[T]he existence of an
 enterprise is an element distinct from the pattern of racketeering activity.”). While facts
 establishing the pattern and the enterprise may coalesce, the two elements are not identical,
 rendering one or the other surplusage. Accordingly, the Court will consider whether the
 enterprise has been pled as a distinct element from the pattern.
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 page indictment identifies defendants Merlino, Mazzone, Borgesi, Angelina, Ciancaglini,

 and Gambino as „made‟ members of the Philadelphia LCN family – „The Enterprise‟ -

 and Lutz and the four defendants who pled guilty as „associates‟ in the family, a family, it

 was alleged, that has been in „substantially continuous operation for a number of

 decades.‟ The structure, hierarchy, and manner in which the enterprise operated was set

 forth in the indictment in detail … The indictment described defendant Merlino as having

 risen through the ranks to be Acting Boss, defendant Mazzone to be Acting Underboss,

 and defendant Borgesi to be Acting Consigliere.”). There is no such pleading as to the

 history of the enterprise or the roles of its members‟ roles here.

        Compounding this deficiency, the instant Indictment fails to plead a common

 course of conduct or unity of purpose to connect, for example, the mortgage fraud with

 the witness murder. Each of the seven purposes pled in ¶ 7 of the Indictment inure to the

 benefit of Paul Bergrin, as discussed above with regard to the pattern of racketeering.

 From such a pleading, no structure is readily apparent.

        The Court acknowledges, however, that under Boyle, in certain circumstances, a

 structure need not be alleged. Where a structure is not pled, the existence of an enterprise

 instead may be inferred from its alleged pattern of acts. Id. at 2245; cf. United States v.

 Console, 13 F.3d 641, 650 n.5 (3d Cir. 1993) (“Although proof of a pattern of

 racketeering does not necessarily establish the existence of an enterprise, we have stated

 that in the appropriate case, the enterprise can be inferred from proof of the pattern.”)

 (emphasis added). This clearly assumes, of course, that a pattern of racketeering acts has
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 been sufficiently alleged, which is not the case here.

        1.     Enterprise Pled as the Pattern of Racketeering

        On the face of the instant Indictment, the Court concludes that the “enterprise”

 requirement is insufficiently pled. The Government hangs its hat on enterprise

 allegations that are both general and conclusory. During oral argument, the Government

 emphasized that the Indictment included allegations beyond the bare text of the statute;

 however, even if that were so, a plain reading of the Indictment does not enable this

 Court to infer, consistent with Boyle, that an enterprise has been pled as a distinct

 element. This is particularly true here, as the predicate act schemes on their face lack the

 commonality required for a pattern.15

        Here, the Government attempts to plead an enterprise exclusively through its

 alleged acts, in effect labeling the pattern as the enterprise. See United States v. Masters,

 924 F.2d 1362, 1367 (7th Cir. 1991) (“If the „enterprise‟ is just a name for the crimes

 committed, or for their agreement to commit these crimes that was charged separately in

 the conspiracy count, then it would not be an enterprise within the meaning of the

 statute.”). While allegations regarding the enterprise may “coalesce” with the pattern of

 racketeering, these two elements are distinct and must be established separately. See

 Boyle, 129 S.Ct. at 2245. Accordingly, the Government cannot bootstrap an enterprise on


 15
    Unless, of course, the common purpose of the enterprise is to break the law and the course of
 conduct is committing illegal acts. To hold as much, however, would convert any garden variety
 criminal conspiracy into a RICO enterprise, which would be true neither to the letter nor the
 spirit of the RICO statute.
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 to the pattern.

        By contrast, the facts of Boyle present a clear instance in which the pattern of

 racketeering acts alleged could lead a court to infer the existence of an associated in fact

 enterprise. Boyle involved a series of bank thefts in New York, New Jersey, Ohio, and

 Wisconsin. Specifically, from 1991 to 1994, a core group of participants was responsible

 for more than thirty night-deposit-box thefts and at least two attempted bank-vault

 burglaries. Boyle, 129 S. Ct. at 2241. This core group, which occasionally recruited

 others to assist it, met beforehand to plan its crimes and split the proceeds from the thefts.

 Id. From these allegations of a core group engaged in the same type of criminal conduct

 pre-existing the recruitment of additional outlying members, it is apparent how “evidence

 used to prove the pattern of racketeering activity and the evidence establishing an

 enterprise may in particular cases coalesce.” Id. at 2245.

        The acts alleged in the instant Indictment stand in stark contrast to Boyle. There is

 no core group alleged, other than Paul Bergrin himself. There is no common criminal

 conduct; instead, the acts alleged range from prostitution to murder to mortgage fraud

 without any apparent overlap or coordination, again other than the presence of Paul

 Bergrin, over different periods of time. In particular, as discussed supra, the murder of

 Kemo McCray stands apart, both temporally and substantively from the other acts.16

 Beyond this, the predicate acts themselves are so disparate in type and method that the


 16
   To the extent that any of the RICO corporations, such as Premium Investment Realty Corp.,
 existed at the time of the Kemo murder, they are not alleged to have been used or to have played
 any part in this temporally-distinct scheme.
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 Government conceded that they could not be properly joined under Rule 8(b) absent a

 RICO count. As such, “The Bergrin Law Enterprise” as alleged better fits Justice Alito‟s

 example of circumstances not giving rise to a RICO enterprise:

        It is easy to envision situations in which proof that individuals engaged in a pattern of
        racketeering activity would not establish the existence of an enterprise. For example,
        suppose that several individuals, independently and without coordination, engaged in a
        pattern of crimes listed as RICO predicates – for example, bribery or extortion. Proof of
        these patterns would not be enough to show that the individuals were members of an
        enterprise.

 Id. at 2245 n.4.

        To the extent that the Government relied on United States v. Masters to support

 the proposition that an enterprise can commit vastly different types of predicate acts, this

 comparison likewise fails on the instant facts. In Masters, the Seventh Circuit held that

 an association-in-fact enterprise existed among a lawyer, his law firm, two police

 officers, and their respective police departments where these individuals and entities

 engaged in a kickback scheme. 924 F.2d 1362, 1365 (7th Cir. 1991). This core group

 engaged in the predicate act bribery scheme for twelve years, at which point, the lawyer

 decided to have his wife killed. The lawyer, Masters, turned to his corrupt police

 contacts to arrange the killing.

        The Government contends that these two different categories of acts – bribery and

 murder – demonstrate how disparate racketeering acts can be used to infer the existence

 of an enterprise. This argument, however, glosses over the most salient facts from

 Masters. The Masters enterprise existed for twelve years with the same individuals

 pursuing the same kickback scheme for the same ends. The existence of this enterprise
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 could be inferred consistent with Boyle. That the defendant-attorney, Masters, then

 decided to use these same police officers to plan another crime did not negate the

 existence of that already-formed enterprise.

        Conversely, in the instant case, the Indictment sets forth a number of unrelated

 criminal schemes and attempts to excuse their lack of temporal and substantive overlap

 by arguing that they were part of a growing enterprise. However, looking at the schemes

 alleged in the Indictment by date and by defendant, the facts belie any assertion that an

 enterprise existed before, during, or after this growth and diversification.

        Turning back to the schemes and the timeline, Bergrin allegedly acted by himself

 in the Kemo murder case in early 2004. In the prostitution scheme later in 2004, Bergrin

 again acted alone. By the time the drug conspiracy began in 2005, Bergrin allegedly was

 working with Defendants Jauregui, Alejandro, Alonso, and Jimenez. None of these drug

 conspiracy defendants appear in the next scheme – the mortgage fraud – except for

 Bergrin and Jauregui, nor are any of these other drug defendants or Sundiata Koontz

 involved in the Monmouth County case. No core group ever coalesced, in stark contrast

 to Masters. This fact alone renders Masters either inapposite, or reading the case most

 broadly, helpful to Bergrin‟s argument that no enterprise existed. The panoply of

 criminality alleged and the involvement of Defendant Bergrin in each scheme cannot on

 its face give rise to a RICO enterprise.

        The Government‟s reasoning appears somewhat circular: it is trying both to plead

 a pattern of racketeering based on the alleged nature of the enterprise, and at the same
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 time, to set forth the alleged nature of the enterprise through the pattern of predicate acts.

 While proof of the pattern and the enterprise may coalesce, here the Government has

 alleged neither sufficiently in the Indictment. Thus, the attempt to use one to establish

 the other fails.

        2.      Distinctiveness Requirement

        Beyond the aforementioned deficiencies, the Indictment also fails to satisfy the

 RICO distinctiveness requirement. In order to properly allege a RICO enterprise, the

 Government must plead the existence of two distinct entities: (1) a “person”; and (2) an

 “enterprise” that is not simply the same “person” referred to by a different name.

 Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1191 (3d Cir.1993); see also Cedric

 Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161 (2001). In other words, the

 defendant must be the “person” who conducted the affairs of the “enterprise,” and the

 defendant/“person” must be distinct from the “enterprise.” This is the so-called

 “distinctiveness” requirement.

        As discussed above, “The Bergrin Law Enterprise” as pled is essentially Paul

 Bergrin, the licensed attorney, by another name. The Government emphasized this

 during oral argument by asserting that the animating force behind this enterprise was the

 misuse of legal services to perform illegal acts. See Tr. 54, 80; see also S.I. ¶ 6

 (“Defendants and other members and associates of The Bergrin Law Enterprise would

 provide illegal services to various criminals … who hired or otherwise used the services

 of The Bergrin Law Enterprise. As part of those services, defendants and other members
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 and associates of The Bergrin Law Enterprise would use the special privileges granted to

 licensed attorneys to engage in and assist Client Criminals to engage in criminal

 activities.”). Through its focus on the misuse of legal services, the Government ties this

 enterprise together through Bergrin‟s status as an attorney. “The Bergrin Law

 Enterprise” therefore is simply Paul W. Bergrin, Esq., without whom, as the Indictment

 states, none of the criminal schemes would be possible.

        The Court notes that the Indictment alleges the enterprise to be a group of

 individuals and legal entities, including the Law Office of Paul W. Bergrin, P.C.; P.B.&

 V, P.A.; Premium Realty Investment Corp., Inc.; and, Isabella‟s International Restaurant,

 Inc. In support of its enterprise argument, the Government contends that the mention of

 these legal entities renders “The Bergrin Law Enterprise” distinct from Paul Bergrin

 himself under Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158 (2001). The

 formality of this pleading, however, is not sufficient to allege a RICO enterprise, as the

 inclusion of corporations in the enterprise does not, on its own, set forth the requisite

 distinctiveness.

        In Cedric Kushner, the Supreme Court assessed whether a corporate employee,

 “acting within the scope of his authority allegedly conduct[ed] the corporation‟s affairs in

 a RICO-forbidden way.” 533 U.S. at 163. Under this factual framework, the Court held

 that Don King (person) was distinct from the corporation (enterprise) that he both worked

 for and owned, given the distinct legal status of the corporation. Id.



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        The allegations in the instant Indictment are distinguishable in several important

 aspects. First, as noted above, the inclusion of different entities by the Government in the

 enterprise allegations does little but distract from the fact that both the person and the

 enterprise are Paul Bergrin, licensed attorney. This was not the case in Cedric Kushner,

 where the allegations focused on Defendant Don King‟s operation of his boxing

 promotion company, the enterprise in a corrupt way.

        Beyond the fact that the persons and the enterprise in this case are functionally

 Paul Bergrin, the RICO persons listed in the Indictment are identical to the alleged RICO

 enterprise. Unlike the complaint at issue in Cedric Kushner, the Indictment does not state

 that Bergrin, as the RICO person, operated one or all of the corporations listed as the

 RICO enterprise. Instead, the RICO persons are alleged to be the RICO Defendants and

 the aforementioned corporations, see S.I. ¶¶ 1, 2, as is the RICO enterprise. See S.I. ¶ 24;

 Gov. Br. 28 (“Count One defines the enterprise not merely as a corporation of which

 Bergrin is a sole shareholder, but as an association of several individuals and business

 entities.”) Where the RICO persons and the enterprise are alleged to be the same

 individuals and corporations, there can be no distinctiveness. The legal status of the

 corporations, as discussed in Cedric Kushner, is of no relevance under these

 circumstances. Put another way, the same individuals and entities alleged to be RICO

 persons also cannot serve as the enterprise. See Zavala v. Wal-Mart Stores, Inc., 447 F.

 Supp. 2d 379, 383 (D.N.J. 2006) (“If the members of the enterprise are the same as the

 persons, [§ 1962(c)‟s] distinctness requirement has not been met, as the „person‟ and the
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 „enterprise‟ must not be identical.”); Kolar v. Preferred Real Estate Inv., Inc., Civ. No.

 07-3864, 2008 WL 2552860, at *4-*5 (E.D. Pa. Jun. 19, 2008) (same). Accordingly, the

 enterprise as pled fails the RICO distinctiveness requirement.

        Since Count One as set forth in the Indictment both fails to set forth a pattern of

 racketeering and an enterprise, it is dismissed as to all Defendants.

 II.    Motions to Dismiss Counts Two and Three – Racketeering Conspiracy and
        Violent Crimes in Aid of Racketeering

        Dismissal of Count One for failure to properly allege a pattern and an enterprise

 requires the dismissal of Count Two – the RICO conspiracy charge. See Lightning Lube,

 Inc. v. Witco Corp., 4 F.3d 1153, 1191 (3d Cir. 1993) (“Any claim under section 1962(d)

 based on a conspiracy to violate the other subsections of section 1962 necessarily must

 fail if the substantive claims are themselves deficient.”).

        The VICAR charge, Count Three, must be dismissed as well. To set forth a

 VICAR violation, the following five elements must be shown: (1) that there was an

 “enterprise,” (2) that engaged in “racketeering activity,” (3) affecting interstate or foreign

 commerce, (4) and that the defendant committed a crime of violence, (5) “for the purpose

 of gaining entrance to or increasing or maintaining his position in the enterprise.” 18

 U.S.C. § 1959(a). Since the Indictment fails to allege an enterprise for the reasons noted

 above, Count Three is dismissed.




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 III.   Conclusion

        For the foregoing reasons, the RICO Defendants‟ motions to dismiss Counts One,

 Two, and Three, pursuant to Federal Rule of Criminal Procedure 12(b)(3), are

 GRANTED. The Court reserves on all pending pretrial motions not addressed herein.

 An Order follows this Opinion.


                                                /s/ William J. Martini     _
                                                WILLIAM J. MARTINI, U.S.D.J.




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